Case 2:16-cV-02158-.JTF-de Document 1-2 Filed 03/09/16 Page 1 of 41 PageiD 6

 

m CT COi'pOratiC>n Service of Process
Transmittal
03/03/2016

CT Log Number 5287562¥8
To: Kim Turner
Allstate insurance Company ~ Nashville MCO
555 Marriott Dr Stel 850
Nashville, TN 37214-5026

RE= Process Served in Tennessee

FOR: Allstate insurance Company (Domestic State: |1_)

ENCLDSED ARE CDPIES OF LEGAL FR°CESS RE¢EIVED BY ‘FHE STA`I"I.|T¢H\’|r AGENT OF THE ABOVE C°MPAN¥ AS FOLL°WS:

'rn'LE oF Ac'non= RAVON TAYLOR, Pltf. vs. ALL STATE iNSURANCE, th.
Name discrepancy noted.
oocumem'(si senven= Summons, Return, Complaint(s}, Affidavit(s), Letter(s), Attachment(s)
EOI.IRT»'AGENCY= 30th Judicial District Chancery Court at Mernphis, TN
Case # CH15?611
ua'runla oF AchoN: insurance Litigation - Clairn for policy benefits
ON WH°M PR°CESS WAS SE|WED= C T Corporation System, Knoxville, TN
oATE ANo noun oF senvlc£: By Process Server on 03/03/2016 at 12:00
Jumsolc'rion sekveo= Tennessee
APP:ARAN¢:E on ANswER ouE: xvithir; 30 days from the date of service (Docurnent(s) may contain additional answer
ates
Arrolmev(s) l senaen(s)= Juliet Hill-Akines
3900 New Covington Pike
#110

Memphis, TN 38128
901 »522-0009

Ac'rlo~ lrems: SOP Papers with Transmittal, via Fed Ex 2 Day , 782518547316
image SOP
EmaiE Notification, Judi Bowlds Judi.Bowlds@allstate.com
Email Notii'i`cati'on, Kirr\ Turner chzwv@allstate.com
Emait Notification, Cherie Schmelz Cherie.Schrneiz@allstate.com
EmaiE Notification, Susan filis selli@allstate.com
Email Notification, Craig Grider cgjf4@allstate.com
Er'nail Notifi`cati'on, Shei'ia Wilson chy[nj@allstate.com

slsNEo: C T Corporation System
AnoREss: 800 S. Gay Street

Paget of 2 / KV

information displayed on this transmittal is for CT
Corporation's record keeping purposes oril\,l and is provided to
the recipient for quick reference This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themselves Recipient is
responsible for interpreting said documents and for taking
appropriate action. Sigr\atures on certified mail receipts
confirm receipt of package only, not contents.

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_m C`|` C()rporat|gn Service of Process
Transmittal
03/03/2016
CT Log Number 528756218
TO: Kim Turner
Allstate insurance Company - Nashville MCO
555 Marriott Dr Ste 850
Nashville, TN 37214-5026

RE: Process Served in Termessee

FOR: Allstate insurance Company (Domestic State: it)

Suite 2021
Knoxville, TN 37929-9710
recenton 216-802-2121

PageZof 2 / KV

information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided to
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appropriate action. Signatures on certified mail receipts
confirm receipt of package oniy, not contents

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AGENT OF SERV!CE

 

CT CORPORATION SYSTEM

 

Ste 2021. 800 S. Gny St.

 

Knoxvii¥a, TN 37929-9710

 

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Court and send l copy w the l'laindll',ll’lalntlli’s aworneyat die address listedbe¥ow. `Ifyou fallin ¢hknd this action\\rithinthlrty (30] days
of servico, judgment by default may be tendered against you for tdc relinfoought in the C omp¥aint Questions regarding this summons
mt ne attached documents should be addressed w me Aum¢y/Fm£iui'nima helm

 

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*"Submitone original and one copyfor each defendantto be served

b if you need assistance or accommodations because afa disnhllity. please cali me ADA Coordinamr at {901)222-2341.

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10 THE DEFENDANT(S): .

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Case 2:16-cV-O_2158-.]TF-de Document 1-2 _Filed 03/09/16 Page 4 of_ 41 PageiD 9

 

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COMPI.AINT FOR BREACH OF CONTRACT, CONVERSION OF PROPERTY
VIOLATION OF THE TENNESSEE CONSUMER PRO'IECI'ION ACI`, DAMAGES

 

TO THE HONORABIB CI'IANCELJ.DRS OF Ti~IE CHANCERY COURT
OF SHBI.BY COUNTY, TENNESSEE: 1

COUNT 1
.1. _Plaintiff, Ravon 'I_`_aylor", (hereinaftor “Tayior”) an individual edu_lt, hawing
been a resident of Siielby County, Tenness_eo at all times relevant to the
allegations aliegod` rn the Complaint. . n
2. Allstate lnsnrance (hereinaftcr “Alistatc")_ rs a for Protit corporation doing
'. busrnessimthe. State ofTennessee ' . ‘ 7 _ '_ *~--
3`._ The Defer_rdant referred to as “Alistate“, registered agent for service cf process
` ` _ rs the C T Corporatioia System, Ste 2021, 800 S. Gay St-., Knosvil_ie,TN
- ` 37_929-9710.
_ 4. ’Iire acts complained of and the contract entered occurred rn Memphis, Slrolby
-(_Iour`rt_y, Tenness_ee. v l d
' v 51 l PIaintifE was and rs at all times pertinent thereto the owner of real property
'located' m Memphis, Shelby County, Tennessee, said real property address

` being 1947 Si;)es Avenue, Memphis, TN 381‘27. `

 

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` .6.' l narrowed root property rooted at 1947 sipes Avrttoo, Momptttt, TN
38127. _
. t7.' Plaintiff Taylor, at all times pertinent thereto, had a connect with Defendant
n Allstntc for Ere insurance on his real property located at 1947 _Sipes _Avenue,
Memphis, TN 38127.
s. on or about note 11, 2014, the Ploittatrs tort property locator at 1947 sipes
, Avenuc, Mer_nphis, _TN 38127 caught l;`ire and burncd.

ll. The fire caused forty live thousand dollars of damage to the Plaintiff’s real
"andp¢r=_wnalpr_°p¢rty ' g __ _ _ _

10. mandatory thereafter ttto P1ttit_tttrr noticed the attendants or too damage rptr
loss of the property located at 1947 S_ipes _Avenue, Merriphis, ’I`N 38127. l

. 11. On Iuno 1_2, 2014, Defenda_nt A]lstate contacted Tay_Ior and notificd Taylor

` that after a thorough and complete investigation it was determined that his
claim was covered as an Allstate policy holder and that he har_l the right to

. _-receiv_e quality repair work and have the damages to h_is` property restored

" (soo_exhib_tt#n g " _ _ " _ "

12. Dofcndant Allstate had ar_r agent to come out and_ removed debri from the _
Plaiirtift’s property and also had the plainti:l.’t"s clothing andpersonal items ' ' d
removed for cleaning v 4 `

_ 13. Defe`ndant Allstate fire inspectors came to Plain_ti&"s real property and caused
further damage by punching holes in th`e Plaintii_l_’s walls and cut wires under

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\ the austacc of.ir`tvestigatr'ng the cause of the fife. ' \`

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?-=t!

14. Pursuai_it to the terms of the parties contract helendaot specifically states the
` they would oooer ended ead aooideotai direot payeoei'ioaa to the Piar'rrttn’a
t dwelling/real property. (see exhibit #2) ' _ t , 7 7
15. Pursuant to the parties contract Section 1_- Your property, under Additional
Protection-Additional living Expcnse is replace by the following
~ (a)We will pay the reasonable increase in living expenses necessary t_o
_ maintain your normal standard of living-when a direct physical loss we cover
under Covcrage A-Dwell_ii_ig Protect:ion_, ._Coverage B- Other Sh'_uctures
' _' Protection or coverage C- Pers_onol _Property___ Prot_ection makes yo_ur residence
. ‘ premises uninhabit_able. a

' Paynient for additional living expense as a result of a covered loss tinder

Coverage_ A- Dwelling Fr`otection, Covera_ge_ B- Otl_rer Structures P_rotcct_ioii or _-

Covera__ge C Personal Property Protecti_on will be limited to the least of the

‘ ' following 1.- _'1_`_he time period required to repair or replace the propcity we

. cover, using due diligence and dispatch; or 2. I_f you pennai_i_eiitly r_e_loca_te, t_he '

` shortest time for yo_ur household to settle elsewhere; 3 _12 months_. "

16. In_ reliooce on Allstatcs assurance that his claim was covered, Taylor allowed
Defendant’s agents access to his real property and seizure of his personal
property such as his clothing _

17. bald personal items of the Plaiiitiff were removed by the De_fendant for

_ purpose of cleaning but were never remitted to the Plaintiff.
18. Def_endant Allstate breached their contract with the Plaint‘cff' in failing to

payoff the entire balance due on the mortgage for the real property as a result

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'=-“-r"

nfain lnaa_ thereof and ina ain damage in aaa Pla_iniiil"a aaal ana personal
_ pwp¢rfl ' __ l - g
,19. Dafnndanl`Allafnfa miller breaches anna nominal with the Plainliff in failing
fnmnknrnpaiialnihal>lninfifiana`lpropnny.
20. l)afnnélanl Allalala farther times chair nnnlrani william Plaii'i`iiffin failing .
to return and clean the damaged personal properly that_was seized." _
2a Aa a a¢nnli_nf aaa l)nfnnannla' nnndnnl,_ meantime smelled ana nnnnanij
' wiih'l>lninfiff and aa a` mann Plainliff has bean caused in ansel damagns.
manson Plainaif seeks jaaginanl against annndnnla in an ainna_inl fn be -
proven at trial _not_toexeeed $500,000.00, plus costs of com
l _ coUN'rl_l..
_22.P1aint_iff re~alieges and adopts paragraph 1- 21 of the Compliant as if set out
verbatilnhereill. " " ..' - '_- _ . l
' 23. linn managing ana guilty nfvinlaling plovisinns name Triii'li an mailing law, `
both federal alld state, and as a result thereof, Plaintiff has been ceased to
suffer damages . 1 _ v *`
WHEREFORE, Piamttii’seeks damages from Defendants as provided for
.by statue',attomey-' s fees alld cost of-this aetion, at an amount to b'e~proven at trial d
and not to ex_ceed $$00, 000 .00. Plaintiif also seeks punitive damages as provided ~

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for by law and costs of court.

'coUNTlll,`~‘ \_ \_

 

_Case 2:16-0V‘-`O~2158-.]`|"F-de _Docilment 1-2 Filed 03/09/16"` P_age 9 _oi 41 Page|D 14

24. Pl_aintiffre-alleges_ and adopts paragraphs 1 - 23 oftlie Complaint as _ifse_t out
varnaiiin_linanin. . `

_,25'. nnfnndnnl land inn Plainliff in rely upon unit nniifinaiinn that his are inns ‘
. would be oovered in violation of_ T.C.A. §{17-18-104(0)(12).
' 26.- onfan§lanfaniinn lanhaavinialan r. cna 541 ieloa(n)(z'/). ' l "

27. Defendant Do_bbs willftu and knowingly engaged' m an unfair and deceptive
act or practice and are guilty of violating provisions _of the Tennessee
Consumer Proteotion Aet, and as a result thereof, Plaintiff has been caused to
stiffer damages l l k

, WHER_EFORE, Plai_ntiff seeks treble damages' r_lr an amount to be proven _
.attr'ialnotto exceed $’750, 000 .00, attorneyfees andeostpursuantto the
Tennessee Consilmer Protection Act. v '
-.__ ooNVERsloN d l _ '. "
28. Plnl'ntiffre- -alleges and adoptsparafgraph 1- 27oftlle Conrplalntas ifsetout -'
verbatim hereill _ . __ f l
29. Del`endant’ s agents and employees engaged iii unlawful and criminal activity. ' _
30. This unlawful activity was known to and aided by Defendant and' ltsmanaging -
`oil'li:ers. `
31 Defendants knowingly received and converted Piaintili?s personal property,
without Plairl'tiff’s consent and permanently deprived Plai`ntiff of same`.
32. Despite said knowledge, Defendant intentionally appropriating Plaintili”s ~

personal property to Defendant’s own use and beneiit.

.. _..-. ..-u.nl _~, 1

 

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, 33. De_fendants intentionally exercised dominion and control over said personal
property of I’lainti§‘ in defiance ofPlaintiti‘s, the true owner, rights when they
\ failed to return the Plaintiff's property.

\

34. Dei'endant dispossessed Plaintiff of his personal property throngh active use of

its agents and]or employees v
35 As a result of Defendants’ aations, PlairitiEhas suH`ared harni.

36. WHEREF{_)RE, Plainti£f seeks compensatory damages' in an amoun_t to be
proven at trial not to exceed $150, 000 ..00

    
 

--Akines #17410
' for Piaintiff

3900 N\!l covington sain `

Case 2:16-cV-02158-.]TF-de Document 1-2' Filed,03/09/16 -'Page 11 of 41 Page|D 16 -

AFFIDAVIT

1 l, Ravon Taylor, do hereby certify that the statements and facts in the foregoing
Compliant are true and accurate and that I am justly entitled to the relief sought.

-- @2 £S_Z_,,’!é/on-

Ravon Taylor

State of Ten`nessee
County of Slielby

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saves a 'i'AYr.oa .rn ' "

1947 SIPES AVE

MEMPHIS TN 381278354

luna 12, 2014

INSURE: RAVON TAYLOR - PHONE NUMBER: 877-840~7291

DAT£ OF LOSS: lime ll, 2014 FAX NUMBER: 866-48$-1314

CLAIMNUMBER: 032996082611$3 - ‘ ~OFFICBHOUR.S: Mon-Fli$:(l`i)am-S:Mpm,
' . Sat 8200 mt_- 2:00 pm ‘ .

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